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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,
v.                                                          CASE NO.: 6:20-cr-00097-GAP-LRH

JOEL MICAH GREENBERG,

      Defendant.
__________________________________/

                    DEFENDANT’S SECOND UNOPPOSED MOTION TO
                      CONTINUE SENTENCING UNTIL MARCH 2022

       The Defendant, Joel Micah Greenberg, moves this Honorable Court to continue his

sentencing hearing until March 2022. In support thereof, Mr. Greenberg states the following:

                                  STATEMENT OF FACTS

       Procedural History

       1.      On May 17, 2021, Mr. Greenberg pled guilty to sex trafficking, identity theft, wire

fraud, and conspiracy. See Doc. 105-106.

       2.      Based on his convictions for identity theft and sex trafficking, Mr. Greenberg is

facing a significant minimum mandatory penalty of 12 years. See 18 U.S.C § 1591 (imposing

mandatory penalty of ten years) and 18 U.S.C. § 1028A (imposing consecutive mandatory penalty of

two years).

       3.      Mr. Greenberg’s sentencing hearing is currently set before this Honorable Court on

November 19, 2021. See Doc. 119.

       4.      This is Mr. Greenberg’s second request for a continuance. See id.




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       Grounds Supporting the Request for a Continuance

       5.      Pursuant to his plea agreement with the Government, Mr. Greenberg has been

cooperating with the Government and has participated in a series of proffers. Said cooperation,

which could impact his ultimate sentence, cannot be completed prior to the time of his sentencing.

The parties expect that Mr. Greenberg will participate in additional proffers, and a continuance

would provide Mr. Greenberg with additional time to do so prior to his sentencing.1

       6.      Accordingly, Mr. Greenberg submits that a continuance of the sentencing hearing will

allow the parties sufficient time to resolve the foregoing matters prior to Mr. Greenberg’s sentencing

hearing.

       7.      After consulting with the Government, the Government has advised that it does not

oppose Mr. Greenberg’s request for a continuance until March 2022.

                                   MEMORANDUM OF LAW

       Mr. Greenberg’s request for a continuance is predicated on Rule 32 of the Federal Rules of

Criminal Procedure and the Sixth Amendment to the United States Constitution. This memorandum

discusses each basis in turn.

       Rule 32(e) of the Federal Rules of Criminal Procedure provides the time limits for imposing

a defendant’s sentence. This rule notes that these time limits may be lengthened for good cause

shown. In the instant case, good cause supports the requested continuance. Indeed, Mr. Greenberg’s

ongoing cooperation, which will not be completed prior to his current sentencing date, could have an

impact on his final sentence.

       Concerning the Sixth Amendment, this constitutional provision guarantees Mr. Greenberg’s



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  Because Mr. Greenberg’s ongoing cooperation involves sensitive matters concerning ongoing
investigations, he requests that the parties be allowed to provide additional information regarding
Mr. Greenberg’s cooperation to the Court under seal, if deemed necessary.

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right to the effective assistance of counsel at sentencing. See Glover v. United States, 531 U.S. 198,

203-04 (2001). The undersigned respectfully submits a continuance is necessary in order to vindicate

Mr. Greenberg’s right to the effective assistance of counsel. Considering the significant mandatory

penalties that Mr. Greenberg currently faces, the undersigned has the critical reasonability of

pursuing all avenues of mitigation on his behalf. See, e.g., Porter v. McCollum, 558 U.S. 30 (2009).

       WHEREFORE, the Defendant Joel Micah Greenberg respectfully moves this Honorable

Court for an Order continuing the Sentencing Hearing until March 2022.

       Respectfully submitted this 5th day of October 2021.

                                                      /s/ Fritz Scheller
                                                      Fritz Scheller
                                                      Florida Bar No. 0183113




                                 CERTIFICATE OF SERVICE

       On October 5, 2021, I filed the foregoing with the clerk of the court using the ECF system

which will provide a copy to all parties of record.


                                                      /s/ Fritz Scheller
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